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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                               Alternative Dispute Resolution Summary


       Provider must file completed form, in duplicate, with the U.S. District Clerk upon
       completion of ADR.

   1. Civil Action number: 3:21-CV-00819-M
   2. Style of case: DOLWIN WHITE V. BLUE APRON, LLC
   3. Nature of suit: Employment
   4. Method of ADR used:          Mediation         Mini-Trial               Summary Jury Trial
   5. Date ADR session was held: 4/19/2022
   6. Outcome of ADR (Select one):

        Parties did not use my services.               Settled, in part, as result of ADR
       XX Settled as a result of ADR. **                Parties were unable to reach settlement.
       ** The Parties have reached an agreement in principle which is subject to the execution of a
       mutually agreeable final settlement agreement being executed by all Parties.
   7. What was your TOTAL fee: $3600.00
   8. Duration of ADR: Full Day (i.e., one day, two hours)
   9. Please list persons in attendance (including party association, i.e., defendant, plaintiff):
      (Provider)

            Courtenay L. Bass, Mediator                 Paul E. Hash, Esq.-Defendant
            Dolwin White – Plaintiff                    Raha Assadi, Esq.-Defendant
            Megan L. Dixon, Esq.-Plaintiff              Kathleen McAchran- Defendant’s Rep.


   Please provide the names, addresses, and telephone number of counsel on the reverse of this form.

Provider information:


VÉâÜàxÇtç _A Utáá                                                  April 22, 2022
Signature                                                          Date


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Address                                                     Telephone
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